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 8
                         UNITED STATES DISTRICT COURT
 9                  FOR THE EASTERN DISTRICT OF WASHINGTON
10

11   STATE OF WASHINGTON, et al.,                 No. 1:23-cv-03026
12
                               Plaintiffs,        MOTION TO EXPEDITE
13
            v.                                    04/17/23
14
                                                  WITHOUT ORAL ARGUMENT
15   U.S. FOOD AND DRUG
     ADMINISTRATION, et al.,
16

17                             Defendants.
18

19         Defendants move for expedited consideration of their Motion for
20
     Clarification, ECF No. 81. Plaintiffs have informed Defendants through counsel
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     that they oppose this Motion to Expedite, as well as the underlying Motion for
22

23 Clarification.

24
           An expedited ruling on Defendants’ Motion for Clarification is necessary
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     because the district court’s order in Alliance for Hippocratic Medicine v. FDA,
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27                                            1
     MOTION TO EXPEDITE
      Case 1:23-cv-03026-TOR    ECF No. 82   filed 04/10/23   PageID.2199 Page 2 of 3



 1 2:22-cv-00223-Z, Dkt. 137 (Apr. 7, 2023), will take effect at midnight Central

 2
     Time on Saturday, April 15, 2023, absent emergency relief. Without expedited
 3

 4 consideration, Defendants’ Motion for Clarification may not be set for

 5 consideration until May 10, 2023. Defendants therefore have good cause to seek an

 6
     immediate hearing on this Motion to Expedite. Defendants respectfully request a
 7

 8 ruling on their Motion for Clarification by Friday, April 14, 2023, in advance of

 9 when the Alliance order will go into effect absent emergency relief.

10

11   April 10, 2023                          HILARY K. PERKINS
                                             Assistant Director
12

13                                           /s/ Noah T. Katzen
                                             NOAH T. KATZEN
14                                           Trial Attorney
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27                                           2
     MOTION TO EXPEDITE
      Case 1:23-cv-03026-TOR      ECF No. 82    filed 04/10/23   PageID.2200 Page 3 of 3



 1                               CERTIFICATE OF SERVICE
 2

 3       I hereby certify that, on April 10, 2023, I electronically filed the foregoing with
 4
     the Clerk of the Court using the CM/ECF system, which will send notification of
 5

 6 such filing to all counsel of record.

 7

 8                                                 /s/ Noah T. Katzen
 9                                                 NOAH T. KATZEN

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     MOTION TO EXPEDITE
